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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)        ‫ ܆‬Original   ‫ ܆‬Duplicate Original

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   CLERK, U.S. DISTRICT COURT         UNITED STATES DISTRICT COURT
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CENTRAL DISTRICT OF CALIFORNIA
                                                                                                        5/20/21
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  BY: ___________________ DEPUTY
                                            Central District of California
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 United States of America

                       v.
                                                                  Case No. PM
 Daryl Dan Muñoz,

                       Defendant(s)


                                    CRIMINAL COMPLAINT BY TELEPHONE
                                   OR OTHER RELIABLE ELECTRONIC MEANS

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of January 21, 2021 in the county of Los Angeles in the Central District of California,

the defendant(s) violated:

             Code Section                                         Offense Description

             21 U.S.C. § 846:                                     Attempt and conspiracy to distribute
                                                                  methamphetamine;
             21 U.S.C. § 841 (a)(1):                              Possession with intent to distribute,
                                                                  and distribution of, methamphetamine;
             49 U.S.C. § 46314(b)(1):                             Entering airport area in violation of
                                                                  security requirements;
             18 U.S.C. § 201 (b)(1)                               Bribery of public officials

         This criminal complaint is based on these facts:

           Please see attached affidavit.

         _ Continued on the attached sheet.
                                                                                         /s/
                                                                                Complainant’s signature

                                                                        Leidy Partida -- FBI, Special Agent
                                                                                 Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                      5/20/21                                          /s/ Michael Wilner
                                                                                    Judge’s signature

AUSA:_Marina A. Torres x8231
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City and state: Los Angeles, California          Hon. Michael Wilner, U.S. Magistrate Judge
                                                              Printed name and title




AUSA:_Marina A. Torres x8231
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                                   AFFIDAVIT

     I, Leidy Partida, being duly sworn, declare and state as

follows:
                              I.   INTRODUCTION


     1.     I am a Special Agent (“SA”) for the Federal Bureau

of᩿᩿᩿ Investigation (“FBI”) and have been so employed since January

20, 2020.   I am currently assigned to the Los Angeles Field Division

Southern California Drug Task Force, High Intensity Drug Trafficking

Area (“SCDTF-HIDTA”).     SCDTF-HIDTA is a task force comprised of

agents and officers from federal, state, and local agencies,

assigned to investigate large-scale narcotics trafficking.

     2.     I have participated in the identification of members of

drug᩿trafficking organizations using telephone records and bills,

photographs, and other documents.       I have assisted in the handling

of confidential sources, executed search warrants for controlled

substances, and conducted physical and electronic surveillance in

connection with narcotics investigations.         Based on my experience

and training with the FBI, I am familiar with the methods used in

narcotics trafficking operations and the trafficking patterns

employed by narcotics organizations.        I know that narcotics

traffickers often require the use of one or more telephone

facilities to negotiate times, places, and schemes, for importing,

manufacturing, and distributing controlled substances and for

arranging the disposition of proceeds from the sale of controlled

substances.   The telephone enables narcotics traffickers to maintain

contact with associates, suppliers, and customers.           I also know that

narcotics traffickers often use fraudulent information to subscribe

to communication facilities, especially cellular telephones, and
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frequently change communications facilities to thwart law

enforcement efforts to intercept their communications.

                          II. PURPOSE OF AFFIDAVIT
     3.    This affidavit is made in support of a criminal complaint

against and arrest warrant for Daryl Dann MUÑOZ (“MUÑOZ”) for

violations of 21 U.S.C. § 846 (attempt and conspiracy to distribute

methamphetamine); 21 U.S.C. § 841 (a)(1), (b)(1)(A) (possession with

intent to distribute, and distribution of, methamphetamine); 49

U.S.C. § 46314(b)(1) (entering airport area in violation of security

requirements); and 18 U.S.C. § 201 (b)(1) (bribery of public

officials) (collectively, the “SUBJECT OFFENSES”).

     4.    The facts set forth in this affidavit are based upon my

personal observations and participation in this investigation, my

review of material obtained via court authorized search warrant(s),

information obtained from various law enforcement personnel and

witnesses, and my training and experience.         This affidavit is

intended to show merely that there is sufficient probable cause for

the requested warrant(s) and does not purport to set forth all my

knowledge of, or investigation into, this matter.          Unless

specifically indicated otherwise, all recordings, conversations and

statements described in this affidavit are related in substance and

in part only.

                      III. SUMMARY OF PROBABLE CAUSE

     5.    In August of 2019, FBI Special Agents (“SAs”) became aware

of a drug trafficking organization (“DTO”) that was actively

transporting drugs from Los Angeles, California to other parts of

the county (including Orlando, Florida and Louisville, Kentucky).


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     6.    On January 22, 2021, a Cooperating Defendant (“CD-1”) was

arrested while in possession of approximately 22 pounds of

methamphetamine at the Orlando International Airport (“MCO”) in

Florida.   CD-1 told law enforcement agents that the methamphetamine

was provided by a source of supply (“SOS”) at the Los Angeles

International Airport (“LAX”).       Based on this information, in

February of 2021, SAs and Task Force Officers (“TFO”) from the Drug

Enforcement Administration (“DEA”) identified Daryl Dann MUÑOZ as

the LAX employee who had provided CD-1 with the aforementioned

methamphetamine.

     7.    In March of 2021, SAs, TFOs, and Homeland Security

Investigations (“HSI”) Agents interviewed MUÑOZ regarding his

involvement with aforementioned methamphetamine seizure.            MUÑOZ

admitted to receiving a backpack of suspected narcotics from this

SOS, with instructions to carry it past TSA screening and exchange

it for cash from CD-1.

                     IV. STATEMENT OF PROBABLE CAUSE
     8.    Based on my participation in this investigation, my

conversations with other law enforcement officers involved, my

review of the evidence recovered in this investigation, and my

review of reports and recorded conversations, I know the following:

     A.    The January 22, 2021 Arrest of CD-1 in Florida

     9.    On January 22, 2021, at approximately 6:45 A.M., a

Transportation Security Administration (“TSA”) Agent Joshua Kaplan

was conducting a random bag search at MCO gate 35 of the passengers

boarding United Airlines flight 1606, which was destined for Dulles

International Airport.     Agent Kaplan approached CD-1 as CD-1 was

attempting to board the flight and conducted a search of CD-1’s
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backpack.       CD-1’s backpack was in CD-1’s possession when Agent

Kaplan approached CD-1, and CD-1 was positively identified by CD-1’s

boarding pass.

        10.    Inside of CD-1’s backpack, Agent Kaplan observed several

transparent bags containing a crystal-like substance, and saw that

these bags were airtight, with white clothing wrapped around them.

Agent Kaplan immediately notified his supervisor of the suspicious

finding.

        11.    Subsequently, Orlando Police Department (“OPD”) officers

responded to gate 35 and met with Agent Kaplan.          OPD officers saw

what appeared to be “crystal meth” inside of CD-1’s backpack, seized

the backpack and escorted both the backpack and CD-1 to OPD’s

airport landside office.       OPD officers conducted a field test of the

substance found in CD-1’s backpack, which tested positive for

methamphetamine.       Approximately 22 pounds of methamphetamine were

recovered from CD-1’s backpack.       Photos of the methamphetamine and

CD-1’s backpack are attached (Attachments A and B) and incorporated
herein.

        12.    CD-1 was arrested by HSI and subsequently charged with

drug trafficking offenses, in violation of 21 U.S.C. Sections

841(a)(1) and 841(b)(1)(A). 1

        B.     Interview of CD-1 on January 22, 2021

        13.    After being read CD-1’s Miranda rights, CD-1 acknowledged

that he/she understood these rights and that he/she was waiving

them.       CD-1 agreed to speak to OPD officers.    CD-1 said that he/she

was traveling from Los Angeles to Louisville, with a layover in



        1   HIDTA-47 received HSI Orlando reports regarding CD-1’s arrest.
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Orlando.    CD-1 said that he/she was contacted telephonically by a

Los Angeles-based source-of-supply (“SOS”) to transport a backpack

containing drugs from LAX to Louisville, Kentucky.           The SOS sent CD-

1 a text message directing CD-1 to go to a restroom located in

Terminal 7 at LAX.     Specifically, the SOS instructed CD-1 to go to

restroom stall number 4, place a black backpack underneath the

stall, and another individual (the courier) would exchange it for a

similar backpack containing drugs.         CD-1 stated that the SOS

maintained contact with CD-1 via text messages throughout the

exchange.    CD-1 told officers that CD-1 had done this type of

transaction before.     CD-1 said that he/she did not know what was

inside of the bag but believed it was drugs, and that he was going

to be paid $1,000 for this exchange.        Officers recovered $900 in

cash in CD-1’s backpack, and another $100 on CD-1’s person.

     C.     Identification of Daryl Dann MUÑOZ.

     14.    On January 22, 2021, FBI LAX Group advised FBI HIDTA-47

Group that CD-1 had been arrested in possession of approximately 22

pounds of suspected methamphetamine at MCO, and that CD-1 had

obtained said narcotics from an individual inside a restroom located

beyond the TSA security screening area at LAX.

     15.    The DEA NTF at LAX conducted an internal investigation

utilizing CD-1’s travel itinerary and identified MUÑOZ (a United

Airlines employee) as the individual who had provided CD-1 with the

methamphetamine.    A review of LAX surveillance footage showed MUÑOZ

and CD-1 enter the same restroom within Terminal 7 at approximately

8 P.M. on January 21, 2021, and showed both MUÑOZ and CD-1 remain

inside the restroom for approximately two minutes.           LAX surveillance


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footage also showed MUÑOZ and CD-1 carrying similar black backpacks

on the evening of January 21, 2021.



     D.    March 17, 2021 Interview of Daryl Dann MUÑOZ.

     16.   On March 17, 2021, FBI, HSI, and DEA SAs and TFOs

interviewed MUÑOZ regarding his suspected association to CD-1. The

agents expressed to MUÑOZ that the interview was voluntary, that

MUÑOZ was not under arrest nor being detained, and that he was free

to leave at any time.     MUÑOZ was shown LAX surveillance footage

stills (photos) of himself entering and exiting the restroom located

within Terminal 7 at LAX, which depicted MUÑOZ carrying a black

backpack when entering and exiting the restroom located within

Terminal 7 at LAX.     LAX surveillance footage showed MUÑOZ and CD-1

carrying similar backpacks on the evening of January 21, 2021.

     17.   MUÑOZ told agents that he would meet an SOS at a

predetermined location prior to MUÑOZ’s shift for work.           The SOS

would provide MUÑOZ with a backpack that contained narcotics.                MUÑOZ

would accept the backpack and $1,000 in U.S. currency as payment.

MUÑOZ would then go back to work and await further instructions from

the SOS.   The SOS would then instruct MUÑOZ, via text message, to go

to a specific restroom stall at LAX, place his black backpack

(containing narcotics) underneath the stall, and exchange it for a

similar (empty) backpack.      MUÑOZ told investigators that he had

conducted these types of exchanges two to four times a month, for

the last five to seven months.




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     E.     MUÑOZ and CD-1 Were Directed by the Same LA-Based SOS.

     18.    Through further investigation, agents determined that CD-1

and MUÑOZ were being directed by the same Los Angeles-based SOS to

meet in the same restroom located in Terminal 7 at LAX.

     19.    Law enforcement searched CD-1’s cellular devices and found

text messages between CD-1 and the unidentified male (“UM”) (using

cellular phone number 323-253-5681) in which the UM provided

instructions to CD-1 on where the exchange of backpacks was to take

place.    CD-1 confirmed that these text messages pertained to the

backpack exchange at LAX on the evening of January 21, 2021.

Subsequent investigation identified 323-253-5681 as a cellular phone

that was subscribed to Osie WALLACE at 1790 East 114th Street, Los

Angeles, California from July 7, 2020 through January 22, 2021.

     20.    Further investigation of airport employee records revealed

that MUÑOZ listed 909-753-9604 as a contact telephone number.                MUÑOZ

also identified 909-753-9604 as his cellular telephone number during

his interview on March 17, 2021.       Further examination of 909-753-

9604 (MUÑOZ’ cellphone) revealed a high frequency contact between

MUÑOZ’ cellphone number and 323-787-7780 (subscribed to Osie WALLACE

at 1790 East 114th Street, Los Angeles, California).           Additional

records obtained for MUÑOZ’ cellphone show that MUÑOZ’ cellphone was

in contact with 323-787-7780 more than 150 times between January 1,

2021 and March 18, 2021.      Specifically, MUÑOZ’ cellphone was in

contact with 323-787-7780 approximately 35 times between January 20,

2021 and January 22, 2021.

     21.    Through this, agents were able to determine that CD-1 and

MUÑOZ were being directed by the same Los Angeles-based SOS, who was


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using the telephone number 323-253-5681 to communicate with CD-1 and

the telephone number 323-787-7780 to communicate with MUÑOZ.



                                V.   CONCLUSION
     22.   For all the above reasons, there is probable cause to

believe that Daryl Dann MUÑOZ committed violations of the

aforementioned SUBJECT OFFENSES.




                                           Leidy Partida, Special Agent
                                           Federal Bureau of
                                           Investigation

Subscribed to and sworn before me
     20
this __th day of May, 2021.

     /s/ Michael Wilner
HONORABLE MICHAEL WILNER
UNITED STATES MAGISTRATE JUDGE




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                                ATTACHMENT A




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                                ATTACHMENT B




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